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                     UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

 SAUL HYMES, ILANA
 HARWAYNE-GIDANSKY, EDGAR
 FIERRO, and JOAN
 LEWIS, individually and on behalf of
 all others similarly situated,                  Case No.
                                                 6:19-cv-644-Orl-41GJK
                            Plaintiffs,

 v.

 EARL ENTERPRISES HOLDINGS,
 INC.

                            Defendant.

                    PLAINTIFFS’ NOTICE OF VOLUNTARY
                      DISMISSAL WITHOUT PREJUDICE

      Plaintiffs Saul Hymes (“Hymes”), Ilana Harwayne-Gidansky (“Harwayne-

Gidansky”), Edgar Fierro (“Fierro”), and Joan Lewis (“Lewis”) (collectively,

“Plaintiffs”), files this Notice of Voluntary Dismissal pursuant to Rule 41(a)(1)(A)(i).

This Notice is without prejudice and being filed with the Court before service by

Defendant, Earl Enterprises Holdings, Inc., of either an answer or a motion for

summary judgment.

Dated: July 15, 2021                      Respectfully submitted,

                                          /s/ John A. Yanchunis

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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on July 15, 2021, a true and correct copy of the

foregoing was electronically filed with the Clerk of Court using CM/ECF.

                                            /s/ John A. Yanchunis
                                            John A. Yanchunis




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